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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


    JILL W. SWEENEY,

                   Plaintiff,

                                                                   Case No. 4:24-cv-04909
    v.

    NEWREZ, LLC D/B/A SHELLPOINT
    MORTGAGE SERVICING,

                   Defendants.

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE


           Plaintiff Jill W. Sweeney and Defendant Newrez LLC d/b/a Shellpoint Mortgage Service

have resolved the underlying dispute. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii),

Plaintiff and Defendant submit this Agreed Stipulation of Dismissal with Prejudice to the Court. 1

Dated: May 28, 2025                                             Respectfully submitted,

                                                                HUSCH BLACKWELL LLP

                                                                /s/ Meghann D. Reeves
                                                                Lauren E. Hayes
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                                                                and



1
  “Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any applicable federal statute, the plaintiff may dismiss an action
without a court order by filing…a stipulation of dismissal signed by all parties who have appeared.” F ED. R. CIV. P.
41(a)(1)(ii).

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                               CERTIFICATE OF SERVICE
        The undersigned herby certifies that a true and correct copy of the foregoing has been
electronically filed with the Court via the Court’s CM/ECF electronic filing system and served
upon all counsel registered with CM/ECF on May 28, 2025.

                                                  /s/ Meghann D. Reeves
                                                  Meghann D. Reeves




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